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December 20, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 23-cv-03417-VC (TSH)

Dear Judge Hixson:
        Plaintiffs and Defendant Meta Platforms, Inc. (“Meta”) jointly submit this letter brief
regarding Plaintiffs’ request for an order compelling Meta’s production of the documents and data
described herein. The parties met and conferred on December 17, but were unable to reach a
resolution.
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2024                                      BOIES SCHILLER FLEXNER LLP


                                                              /s/ Maxwell V. Pritt
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                                                              Reed Forbush
                                                              Jay Schuffenhauer

                                                              Attorneys for Plaintiffs




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